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UNITED STATES DISTRICT COURT OCT
SOUTHERN DISTRICT OF WEST VIRGINIA 12 2024
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Souther District of West Virginia
UNITED STATES OF AMERICA
ve CRIMINAL NO. A.24— Y- OO/lele
26 U.S.C. § 7203
JOSHUA L. WOLFE
INFORMATION

The United States Attorney charges:
INTRODUCTORY ALLEGATIONS

At all relevant times:

1, Defendant JOSHUA L. WOLFE resided in Kenna, Jackson
County, West Virginia, within the Southern District of West
Virginia.

2% Wolfe Construction Company, Inc. (“Wolfe Construction”),
was a corporation doing business in Charleston, West Virginia.
Wolfe Construction was engaged in the business of commercial
construction.

3. Defendant JOSHUA L. WOLFE was the president, sole
officer, and a shareholder of Wolfe Construction.

Employment Taxes

4. The Internal Revenue Service (“IRS”) was an agency of

the United States Department of the Treasury responsible for
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administering the tax laws of the United States and collecting
taxes owed to the United States.

5 Pursuant to the Internal Revenue Code and associated
statutes and regulations, employers are required to withhold
amounts from their employees’ gross pay including Federal
Insurance Contribution Act (“FICA”) taxes, which represent Social
Security and Medicare taxes, and federal income taxes. These
taxes will be referred to in this Information as “trust fund taxes”
because employers hold the withheld amounts in trust until paid
over to the United States. Employers are required to remit these
withheld trust fund amounts to the IRS on a quarterly basis, no
later than the last day of the month following the end of the
quarter.

6. In addition to the trust fund taxes that must be withheld
from pay, employers are separately required to make contributions
under FICA for Social Security and Medicare in amounts matching
the amounts withheld from their employees’ pay for those purposes.
Such employer contributions are likewise required to be remitted
to the IRS no later than the last day of the month following the
end of the quarter. Collectively, these five components required
to be remitted quarterly are commonly referred to as “employment
taxes,” made up of the trust fund taxes withheld (individual

income, Social Security, and Medicare taxes) and the matching
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amounts contributed by the employer.

Li Employers are required to file, one month after the
conclusion of the calendar quarter, an Employer’s Quarterly
Federal Tax Return, Form 941 (“Form 941”), setting forth the total
amount of income taxes withheld, the total amount of Social
Security and Medicare taxes due, and the total tax deposits.

8. A person is responsible for collecting, accounting for,
and paying over the employment taxes if he or she has the authority
required to exercise significant control over the employer's
financial affairs, regardless of whether the individual exercised
such control in fact.

9, Defendant JOSHUA L. WOLFE exercised control over the
financial affairs of Wolfe Construction by, among other acts,
approving payments, signing checks, controlling business bank
accounts, and maintaining sole signature authority on the business
bank accounts; thus, he was a responsible person for collecting
trust fund taxes, accounting for the employment taxes by filing
Forms 941 with the IRS, and paying over to the IRS the employment
taxes for the employees of Wolfe Construction.

COUNT ONE

10. Paragraphs 1 through 9 of this Information are re-

alleged as if fully set forth herein.

11. During the first quarter of 2019, Defendant JOSHUA L.
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WOLFE employed individuals on behalf of Wolfe Construction. By
reason of such employment, he was required by law, following the
close of the quarter and on or before April 31, 2019, to pay to
the IRS on behalf of Wolfe Construction the employer’s portion of
the Social Security and Medicare taxes imposed by the Internal
Revenue Code. Knowing and believing all of the foregoing, he did
willfully fail on or about April 31, 2019, in the Southern District
of West Virginia, to pay the Social Security and Medicare taxes
due.

In violation of Title 26, United States Code, Section 7203.

COUNT TWO

12. Paragraphs 1 through 9 of this Information are re-
alleged as if fully set forth herein.

13. During the calendar year 2018, Defendant JOSHUA L. WOLFE
had and received gross income in excess of $18,000, the minimum
filing requirement. By reason of such gross income, he was
required by law, following the close of the calendar years and on
or before April 15, 2019, to make an income tax return to the IRS,
stating specifically the items of his gross income and any
deductions and credits to which he was entitled. Knowing and
believing all of the foregoing, he did willfully fail on or about
the April 15, 2019, in the Southern District of West Virginia, to

make an income tax return.
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In violation of Title 26, United States Code, Section 7203.

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